Case 2:05-CV-O2442-SHI\/|-STA Document 2 Filed 08/01/05 Page 1 of 5 Page|D 1

 

IN 'I'HE UNITED STATES DISTRIC'I' COURT FH.ED BY .!.(_O._. D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION BSAUG_| AHIO:32
HUWHM&XUD
X CURKM§§$E§JGUHT
UNITED sTATEs oF AMERICA, x W."DL.~ we PLHS
X
Plaintiff, X
X
Vs. X Cv. No. 05-2442-Ma/An
X Cr. No. 91-20148-G
JIM L. TOWNSEND, X
X
Defendant. X
X
X

 

ORDER CONSTRUING FILING AS MOTION PURSUANT TO
28 U.S.C. § 2244(b)(3)
AND
ORDER TRANSFERRING MOTION PURSUANT TO 28 U.S.C. § 2244(b)(3)
TO UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

 

Defendant Jim L. Townsend, Bureau of Prisons inmate
registration number 13003-076, an inmate at the Federal Correctional
Institution in Memphis filed a p;Q §§ motion pursuant to 28 U.S.C. §
2255, accompanied by a legal memorandum, on June 16, 2005.

On June 6, 1991, a federal grand jury returned a two-count
indictment against Townsend and certain codefendants. The first count
of the indictment charged Townsend and three codefendants, Bernice
Turner, Willie Harold Skipper, and Hazel Little, with conspiracy to
possess cocaine with intent to distribute, in violation of 21 U.S.C.
§ 846. The second count charged Townsend and Little with possession
of cocaine with intent to distribute, in violation of 21 U.S.C. § 841.
The case proceeded to trial before then-District Judge Julia Smith
Gibbons on January 21, 1992. On January 29, 1992, the jury returned

_}\.,` ",l ,. ;,_»; c . ` ~ '-' =- ~
I 1 \.1).,ca14zt.r1\e,f.tersc on ms dcc;i~;a? sweet m tor¢¢-‘pl.a¢"c‘a
..

W;Li'r Huie 58 ami/or 7943) FHCP nn 'Q?*

Case 2:O5-CV-O2442-SHI\/|-STA Document 2 Filed 08/01/05 Page 2 of 5 Page|D 2

a verdict finding Townsend guilty on both counts of the indictment.
Judge Gibbons conducted a sentencing hearing on October 23, 1992, at
which time Townsend was sentenced to mandatory life imprisonment. The
United States Court of Appeals for the Sixth Circuit affirmed
defendant's conviction and sentence. United States v. Little, Nos. 92-
6719, 92-6’720, 92-6'721, 1993 WL 501570 (6th Cir. DeC. 6, 1993), C_e;t_.
denied, 513 U.S. 942 (1994).

On June 30, 1995, Townsend filed a prp §§ motion, pursuant
to Fed. R. Crim. P. 33, seeking a new trial. Judge Gibbons denied that
motion on June 28, 1996. On September 15, 1996, defendant filed a p;g
se motion for reconsideration in which he raised certain additional
arguments. That motion was denied on December 23, 1996. The Sixth
Circuit affirmed the denial of defendant's motion for a new trial.
United States v. Townsend, No. 97~5155, 1999 WL 313856 (6th Cir. May
3, 1999) .

Townsend filed his first motion pursuant to 28 U.S.C. § 2255
on August 2, 2000, and he subsequently filed amendments on November
13, 2000; December 19, 2000; February 12, 2001; and March 19, 2001.
Judge Gibbons issued on order on September 28, 2001 denying the motion
as untimely and denying a certificate of appealability. Townsend v.
United States, No. 00~2678-G/V (W.D. Tenn.). Judgment was entered on
October 9, 2001. Townsend's appeal was dismissed. for failure to
prosecute. Townsend v. United States, No. 01-6333 (6th Cir. Feb. 13,
2002) .

Townsend then filed a petition for a writ of habeas corpus
pursuant to 28 U.S.C. § 2241 on November 12, 2002. District Judge

Bernice B. Donald issued an order denying the petition on March 14,

2

Case 2:O5-CV-O2442-SHI\/|-STA Document 2 Filed 08/01/05 Page 3 of 5 Page|D 3
2003, Townsend v. Davis, 254 F. Supp. 2d 978 (W.D. Tenn. 2003), and
the Sixth Circuit affirmed, Townsend v. Davis, 83 Fed. Appx. 728 (Gth

Cir. Dec. 5, 2003), cert. denied, 541 U.S. 1090 (2004).

 

On June 16, 2005, Townsend filed a second § 2255 motion in
which he contends that his sentence is unconstitutional in light of
the Supreme Court’s decisions in United States v. Booker, 125 S. Ct.
738 (2005), and Shepard v. United States, 125 S. Ct. 1254 (2005).

This motion is a successive § 2255 motion that cannot be
filed in this district without obtaining permission from the United
States Court of Appeals for the Sixth Circuit. 28 U.S.C. §
2244(b)(3)(A); see also United States v. Bender, 96 Fed. Appx. 344
(Gth Cir. Apr. 26, 2004); McQueen v. Scroggv, 99 F.3d 1302, 1334-35

(6th Cir. 1996).1 Under In re Sims, 111 F.3d 45, 47 (6th Cir. 1997)

 

(per curiam), “when a second or successive petition for habeas corpus
relief or § 2255 motion is filed in the district court without §
2244(b)(3) authorization from [the Sixth Circuit], the district court
shall transfer the document to [the Sixth Circuit] pursuant to 28
U.S.C. § 1631.

Townsend’s latest motion cannot be filed in this district
without permission from the Court of Appeals. Therefore, under §im§,

111 F.3d at 47, and 28 U.S.C. § 1631, it is hereby ORDERED that the

 

1 It does not appear that Townsend has filed a copy of this motion with

the Sixth Circuit.

Case 2:O5-CV-O2442-SHI\/|-STA Document 2 Filed 08/01/05 Page 4 of 5 Page|D 4

Clerk transfer this motion to the United States Court of Appeals for

the Sixth Circuit.

IT Is so 0RDERED this 7'°‘¢ day of July, 2005.

_GL,WM_`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02442 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

Jim L. Townsend
FCI-Memphis
13003-076

P.O. Box 34550
l\/lemphis7 TN 38184

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

